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                   Exhibit 4
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     Case 4:21-cv-03306 Document 1-4 Filed on 10/08/21 in TXSD Page 13 of 20 10/4/2021 10:06 AM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 57832227
                                                                                                            By: Kevin Childs
                                                                                                Filed: 10/4/2021 10:06 AM

                                     CAUSE NO. 2021-35665

SAFETY VISION, LLC                                §                IN THE DISTRICT COURT OF
     Plaintiff,                                   §
                                                  §
v.                                                §
                                                  §                   HARRIS COUNTY, TEXAS
LEI TECHNOLOGY CANADA AND                         §
LANNER ELECTRONICS, INC.                          §
      Defendants.                                 §                  165TH JUDICIAL DISTRICT

       DEFENDANT LEI TECHNOLOGY CANADA’S ORIGINAL ANSWER and
                 COUNTERSUIT AGAINST SAFETY VISION


       COMES NOW, LEI TECHNOLOGY CANADA. (“Defendant” or “LEI”) Defendant in

the above-captioned and numbered cause, and files this, its Original Answer and Countersuit

against SAFETY VISION, LLC (“Plaintiff” or “Safety Vision”) and would respectfully show

unto the Court as follows:

                                              I.
                                        GENERAL DENIAL

       1.1.    Defendant denies generally each and every allegation in Plaintiff’s Original Petition

and requests Plaintiff be required to prove its allegations by a preponderance of the evidence in

accordance with the laws of the State of Texas. Defendant reserves the right to amend this Answer

to add other defenses as are appropriate and allowable under the laws of the State of Texas.

                                              II.
                                      ADDITIONAL DEFENSES

       2.1.    Answering further, Defendant denies that Plaintiff has met all conditions

precedent to its right to recover damages under the contract. See Ex. A to Plt’s Orig. Pet.

Defendant denies further that any conditions precedent have been waived or excused.

       2.2.    LEI denies that it breached the contract between it and Safety Vision.

       2.3.    Plaintiff accepted the products it complains of in its Original Petition because


ORIGINAL ANSWER                                                                              PAGE 1 OF 4
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Plaintiff inspected, or had the opportunity to inspect, the products and failed to notify Defendant

of any alleged nonconformity pursuant to the contract terms. See id.

       2.4.    To date, Plaintiff has retained possession of the products without payment

pursuant to the contract terms.

       2.5.    Plaintiff’s damages, if any, may have resulted from new and independent causes

unrelated to any conduct of Defendant.

       2.6.    Defendant’s liability for Plaintiff’s alleged damages are limited by the contract.

See id. Further, Defendant is not responsible for any expenses or damages allegedly incurred by

Plaintiff due to acts of Third Parties or Plaintiff’s own acts, conduct, negligence and/or failure to

mitigate its damages.

                                                III.
                                         COUNTERCLAIM

       3.1.    SERVICE: LEI now acting as Counter-Plaintiff, brings this counter suit against

Counter-Defendant, Safety Vision. Safety Vision filed this suit and thereby appeared and is

being served with this counter suit through its counsel pursuant to the Texas Rules of Civil

Procedure.

       3.2     LEI alleges further that Safety Vision breached the contract, specifically, Section

7. Payment, subsection 7.1. by not making payments for products received. Safety Vision owes

LEI $244,927.70 for products it received and accepted under the contract.

                                              IV.
                                       RULE 193.7 NOTICE

       4.1     In accordance with Rule 193.7 of the Texas Rules of Civil Procedure, Defendant

hereby provides written notice to Plaintiff that any and all documents produced during discovery

may be used against Plaintiff at any pre-trial proceeding and/or trial of this matter without the




ORIGINAL ANSWER                                                                           PAGE 2 OF 4
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necessity of authenticating the document.

                                                  V.
                               NOTICE OF REQUIRED DISCLOSURES

       5.1         Under the Texas Rules of Civil Procedure 194, all parties must make their

initial disclosures within 30 days after this Answer is filed.

                                                VI.
                                           JURY DEMAND

       6.1     Defendant respectfully demands a jury for the trial of this matter.

                                              VII.
                                     CONCLUSION AND PRAYER

       WHEREFORE,          PREMISES        CONSIDERED,           Defendant   LEI     TECHNOLOGY

CANADA prays that Plaintiff take nothing by this suit, that Defendant be awarded $244,927.70

under the contract and attorneys’ fees pursuant to Texas Civil Practices and Remedies Code

§38.001, all other allowable costs and expenses incurred on its behalf, and for such other and

further relief, both at law and in equity, to which Defendant may show itself to be justly entitled.

                                                       Respectfully submitted,

                                                       /s/ Kimberly Snagg                    
                                                       DARRELL L. BARGER
                                                       State Bar No.01733800
                                                       dbarger@hdbdlaw.com
                                                       KIMBERLY R. SNAGG
                                                       State Bar No. 24075099
                                                       ksnagg@hartlinebarger.com
                                                       HARTLINE BARGER L.L.P.
                                                       1980 Post Oak Blvd., Suite 1800
                                                       Houston, Texas 77056
                                                       Telephone: (713) 759-1990
                                                       Facsimile: (713) 652-2419

                                                       ATTORNEYS FOR DEFENDANT
                                                       LEI TECHNOLOGY CANADA




ORIGINAL ANSWER                                                                           PAGE 3 OF 4
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been

forwarded to all known parties and counsel of record in this cause in accordance with the Texas

Rules of Civil Procedure on this the 4th day of October, 2021.

Patrick J. McGettigan
13625 Ronald Reagan Blvd.
Building One, Suite 100
Cedar Park, TX 78613
Phone: 512-476-1121
Fax: 512-476-1131
Email: pmcgettigan@inhousegc.com
Attorney for Plaintiff


                                                    /s/ Kimberly Snagg                 
                                                    KIMBERLY R. SNAGG




ORIGINAL ANSWER                                                                     PAGE 4 OF 4
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Kimberly Snagg on behalf of Kimberly Snagg
Bar No. 24075099
KSnagg@hartlinebarger.com
Envelope ID: 57832227
Status as of 10/4/2021 10:36 AM CST

Associated Case Party: LEI Technology Canada

Name               BarNumber   Email                           TimestampSubmitted   Status

Brenda Hernandez               bhernandez@hartlinebarger.com   10/4/2021 10:06:06 AM SENT

Mary McCoy                     mmccoy@hartlinebarger.com       10/4/2021 10:06:06 AM SENT

Kimberly Snagg                 ksnagg@hartlinebarger.com       10/4/2021 10:06:06 AM SENT

Darrell Barger                 dbarger@hartlinebarger.com      10/4/2021 10:06:06 AM SENT
10/8/21, 12:26 PMCase 4:21-cv-03306                 Document 1-4of Harris
                                                          Office    Filed   on District
                                                                          County 10/08/21
                                                                                        Clerk - in TXSD
                                                                                                 Marilyn       Page 18 of 20
                                                                                                         Burgess


  HCDistrictclerk.com                  SAFETY VISION LLC vs. LEI TECHNOLOGY LTD                                             10/8/2021
                                       Cause: 202135665   CDI: 7    Court: 165

  DOCUMENTS
  Number            Document                                                                             Post Date              Pgs
                                                                                                         Jdgm
  98218457          DEFENDANTS ORIGINAL ANSWER                                                                 10/04/2021       5
  97094689          Domestic Return Receipt                                                                    07/23/2021       2
  97094690          Domestic Return Receipt                                                                    07/23/2021       2
  96834293          Certified Mail Receipt                                                                     07/12/2021       1

  96834294          Certified Mail Receipt                                                                     07/12/2021       1
  96755198          Certified Mail Tracking Number 7018 1830 0001 4426 7992                                    07/09/2021       2
  96755199          Certified Mail Tracking Number 7018 1830 0001 4426 7985                                    07/09/2021       2
  96738574          LEI Request of Issuance of Service                                                         07/08/2021       1

   ·> 96738576      Filing letter                                                                              07/08/2021       1

   ·> 96738575      Lanner Request of Issuance of Service[1]                                                   07/08/2021       1
  96342256          Plaintiff's Original Petition                                                              06/14/2021       7

   ·> 96342257      Exhibit A                                                                                  06/14/2021       12




https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=6Xafa6pFPj0x5mCHkXIbt/6bhUXgt5TLk+3pbd2KISXJDcFHYog2PBRu5X…   1/1
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        a.    All executed process in the case;
        b.    Pleadings asserting causes of action;
        c.    All orders signed by the state judge;
        d.    The docket sheet;
        e.    A list of all counsel of record, including addresses, telephone
              numbers and parties represented.

        f.    Notice of Removal
   Case 4:21-cv-03306 Document 1-4 Filed on 10/08/21 in TXSD Page 20 of 20




COUNSEL OF RECORD:


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